                            UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MASSACHUSETTS


Joel Mateo,

               Plaintiff,                            Civil Action No.: 1:18-cv-11953-FDS

v.                                                   JURY TRIAL DEMANDED

University System of New Hampshire and
Frances Canning,

               Defendants.


               MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                           MOTION TO DISMISS

       The Defendants, University System of New Hampshire and Frances Canning

(“Ms. Canning”) (collectively, the “Defendants”), hereby respectfully submit this Memorandum

of Law in Support of Defendants’ Motion to Dismiss.

                                PRELIMINARY STATEMENT

       The Plaintiff, Joel Mateo (“Plaintiff”), has filed a four (4) count Complaint arising from

his withdrawal from the University of New Hampshire School of Law (“UNH Law”) while

under investigation for violating the school’s code of conduct. The counts include a federal

claim brought pursuant to 42 U.S.C. § 1983 for due process violations under the Fourteenth

Amendment, and common law claims for defamation, negligent infliction of emotional destress,

and intentional infliction of emotional distress.

       The Defendants now move to dismiss the Complaint in its entirety for lack of personal

jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2). In the alternative, the

Defendants move to dismiss the common law defamation claim for failure to state a claim upon

which relief can be granted pursuant to Federal Rule of Civil Procedure 12(b)(6), and
respectfully request that this Honorable Court transfer this case to the District of New Hampshire

pursuant to 28 U.S.C. § 1404(a).

                               STATEMENT OF MATERIAL FACTS1

        The University System of New Hampshire (“USNH”) is a body politic established

pursuant to N.H. RSA § 187-A:3, with an address of 5 Chenell Drive, Suite 301, Concord, New

Hampshire. See Declaration of Catherine Provencher (“Provencher Dec.”) at ¶ 2, attached hereto

as Exhibit A. UNH Law is a component institution of USNH located in Concord, New

Hampshire. Id. at ¶ 3. Neither UNH Law nor USNH have campuses in Massachusetts. Id. at ¶

4. USNH currently employs eight individuals in Massachusetts who teach on-line courses as

adjunct professors for Granite State College. Id. at ¶ 5. The adjunct professors teach on an as

needed basis and do not teach if their classes do not fill. Id. USNH also currently employs five

individuals who perform research-related work in Massachusetts for the University of New

Hampshire. Id. at ¶ 6.

        Ms. Canning is and was a resident of New Hampshire during the relevant time period.

See Declaration of Frances Canning (“Canning Dec.”) at ¶ 1, attached hereto as Exhibit B.

Ms. Canning does not own any property in Massachusetts. Id. at ¶ 2.

        On November 5, 2015, the Plaintiff voluntarily withdrew from UNH Law pending a

charge alleging the violation of the school’s Conduct Code. Complaint at ¶ 1. A year and a half

later, on May 5, 2017, the Plaintiff contacted Ms. Canning, the Assistant Dean of Students,

expressing a desire to address his standing at UNH Law in order to acquire a letter of good

standing for use in future transfer applications to other law schools. Id. at ¶ 2. Ms. Canning

provided the Plaintiff with the following options: (1) resolve the pending Conduct Code Charge

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  For the purpose of this Memorandum of Law, the facts alleged by the Plaintiff are taken from the Complaint and
assumed to be true. Accordingly, such facts are stated in the affirmative. However, the Defendants expressly
reserve their right to challenge the Plaintiff’s factual recitations in later responsive pleadings.

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in accordance with UNH Law’s Conduct Code, whereby Ms. Canning would issue a letter based

on the investigation’s conclusion; or, (2) Ms. Canning would issue a letter stating that the

Plaintiff is ineligible to return to UNH Law until the pending Conduct Code Charge is resolved,

whereby the Plaintiff could include a response to the letter for prospective law schools. Id. at

¶ 3. The Plaintiff ultimately elected to move forward with the second option. Id. at ¶ 5.

       On May 24, 2017, Ms. Canning produced a letter to the Plaintiff which explained his

current standing at UNH Law. Id. at ¶ 7. On June 30, 2017, the Plaintiff applied to Suffolk

University Law School. Id. at ¶ 8. Subsequently, on July 13, 2017, Ms. Canning submitted the

letter to Suffolk University Law School. Id. at ¶ 9. The Plaintiff was denied admission to

Suffolk University Law School on July 27, 2017. Id. at ¶ 10.

       Thereafter, on August 7, 2017, the Plaintiff contacted Ms. Canning and indicated that he

would like to resolve the pending Conduct Code Charge against him. Id. at ¶ 11. In response,

Ms. Canning informed the Plaintiff that UNH Law would only investigate a pending charge

against a currently matriculated student. Id. at ¶ 12. As such, the Plaintiff would have to

confirm his desire to re-enroll in the program. Id.

       On January 16, 2018, the Plaintiff contacted Ms. Canning and informed her that he would

like to re-enroll at UNH Law. Id. at ¶ 16. Because it had now been over two years since the

Plaintiff had voluntarily withdrawn from UNH Law, Ms. Canning informed the Plaintiff that he

would have to reapply to UNH Law with advance standing. Id. at ¶ 17. Ms. Canning also

informed the Plaintiff that if he was extended an offer of admission, then UNH Law could

resolve the pending charge against the Plaintiff. Id.

       On March 19, 2018, the Plaintiff submitted an application to UNH Law. Id. at ¶ 18. The

Plaintiff was denied admission to UNH Law on June 4, 2018. Id. at ¶ 19. Thereafter, the



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Plaintiff applied to New England Law on July 13, 2018. Id. at ¶ 20. Prior to his application, the

Plaintiff contacted Ms. Canning on July 12, 2018, and requested that she send a copy of the letter

she had previously produced on May 24, 2017 to New England Law. Id. at ¶ 21. Ms. Canning

submitted the letter to New England Law on July 18, 2018. Id. at ¶ 22. The Plaintiff was denied

admission to New England Law on July 31, 2018. Id. at ¶ 23.

                                       STANDARDS OF REVIEW

A.      Personal Jurisdiction

        When jurisdiction is contested under Federal Rule of Civil Procedure 12(b)(2), the

plaintiff bears the burden of showing that a basis for asserting jurisdiction exists. Phillips v.

Prairie Eye Ctr., 530 F.3d 22, 26 (1st Cir. 2008). Courts “may choose from among several

methods for determining whether the plaintiff has met [his or her] burden.” Id. The available

methods are the prima facie method, the preponderance method, and the likelihood method. Id.

at 26, n. 2. The principle distinction between the prima facie method and the preponderance and

likelihood methods is that former does not require an evidentiary hearing. Id. The prima facie

method is the standard most commonly employed in the early stages of litigation.2 A Corp. v.

All Am. Plumbing, Inc., 812 F.3d 54, 58, n. 5 (1st Cir. 2016) (citation omitted).

        Under the prima facie method, “the inquiry is whether the plaintiff has proffered

evidenced which, if credited, is sufficient to support findings of all facts essential to personal

jurisdiction.” Phillips, 530 F.3d at 26 (citation omitted). In order to make a prima facie showing

of jurisdiction, “the plaintiff ordinarily cannot rest upon the pleadings but is obliged to adduce

evidence of specific facts.” Id. (quoting Foster-Miller, Inc. v. Babcock & Wilcox Canada,

46 F.3d 138, 145 (1st Cir. 1995)) (quotation marks omitted). Courts “must accept the plaintiff’s


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  For a complete discussion of when an evidentiary hearing is appropriate under either the preponderance or
likelihood methods, see Foster-Miller, Inc. v. Babcock & Wilcox Canada, 46 F.3d 138, 145-47 (1st Cir. 1995).

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(properly documented) evidentiary proffers as true for the purpose of determining the adequacy

of the prima facie jurisdictional showing . . . and construe them in the light most congenial to the

plaintiff’s jurisdictional claim.” Phillips, 530 F.3d at 26 (internal quotation marks and citations

omitted). However, courts need not “credit conclusory allegations or draw farfetched

inferences.” Mass. Sch. of Law at Andover, Inc. v. Am. Bar Ass’n, 142 F.3d 26, 34 (1st Cir.

1998). Courts may consider facts offered by defendants, but only to the extent that they are

contradicted by the plaintiff’s evidence. Id. (citation omitted).

B.     Failure to State a Claim

       In evaluating a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), a

court must accept all facts set forth in the complaint as true and draw all reasonable inferences in

favor of the plaintiff. Curran v. Cousins, 509 F.3d 36, 43-44 (1st Cir. 2007). However, the

United States Supreme Court has made clear that a court should not “conclusory statements” set

forth in a complaint as true. Ashcroft v. Iqbal, 556 U.S. 662, 686 (2009). Instead, federal courts

must follow a two-step approach in assessing the sufficiency of a complaint in the face of a Rule

12(b)(6) motion. Id. at 680-81. First, the court must distinguish between facts, on the one hand,

and “mere conclusory statements” or legal conclusions on the other hand. Id. at 678-79. The

latter are not entitled to the presumption of truth and must be disregarded. Id. Second, the court

must “consider the factual allegations in [the complaint] to determine if they plausibly suggest an

entitlement to relief.” Id. at 681. A claim is facially plausible “when the plaintiff pleads factual

content that allows the court to draw a reasonable inference that the defendant is liable for the

misconduct alleged.” Id. at 678 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2008)).

A plaintiff must show more than a sheer possibility that a defendant acted unlawfully and cannot

rely on mere “labels and conclusions” to support a claim. Twombly, 550 U.S. at 555. If the



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plaintiff’s pleadings “have not nudged [his or her] claims across the line from conceivable to

plausible, [the] complaint must be dismissed.” Id. at 570.

                                                  ARGUMENT

I.       THIS COURT LACKS PERSONAL JURISDICTION OVER THE DEFENDANTS

         The Supreme Court has long held that a State may authorize its courts to exercise

personal jurisdiction over an out-of-state defendant if the defendant has “certain minimum

contacts with the State such that the maintenance of the suit does not offend ‘traditional notions

of fair play and substantial justice.’” Goodyear Dunlop Tires Operations, S.A. v. Brown,

564 U.S. 915, 923 (2011) (quoting International Shoe Co. v. Washington, 326 U.S. 310, 316

(1945)) (internal brackets omitted). In addition, this Court “must find sufficient contacts

between the defendant and the forum to satisfy both that state’s long-arm statute and the

Fourteenth Amendment’s Due Process Clause.” Geis v. Nestlé Waters North America, Inc.,

No. 17-12165, 2018 U.S. Dist. LEXIS 110075, at *6 (D. Mass. July 2, 2018) (quoting Sawtelle

v. Farrell, 70 F.3d 1381, 1387 (1st Cir. 1995)) (internal quotation marks omitted); see also

FED. R. CIV. P. 4(k)(1)(A) (providing that federal district courts may exercise personal

jurisdiction over a defendant “who is subject to the jurisdiction of a court of general jurisdiction

in the state where the district court is located”).3


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  The First Circuit recently acknowledged but did not resolve the “tension” in its precedent interpreting the limits on
personal jurisdiction imposed by Massachusetts’ long-arm statute, M.G.L. ch. 233, § 3. See A Corp. v. All Am.
Plumbing, Inc., 812 F.3d 54, 58-59 (1st Cir. 2016) (comparing Daynard v. Ness, Motley, Loadholt, Richardson &
Poole, P.A., 290 F.3d 42, 51 (1st Cir. 2002) (interpreting Massachusetts’ long-arm statute as coextensive with the
outer limits of the Constitution) (citing ‘Automatic’ Sprinkler Corp. of Am. v. Seneca Foods Corp., 280 N.E.2d 423,
424 (Mass. 1972)), with Copia Commc’ns, LLC v. AMResort, L.P., 812 F.3d 1, 4 (1st Cir. 2016) (suggesting that
Massachusetts’ long-arm statute may impose limits on the exercise of personal jurisdiction which is “more
restrictive” than those required by the Constitution) (citing Good Hope Indus., Inc. v. Ryder Scott Co., 389 N.E.2d
76, 80 (Mass. 1979)). This issue is not being briefed at this time as the Defendants contend that the facts of this case
do not satisfy the limits placed on this Court’s power to exercise personal jurisdiction over the Defendants by the
Constitution. If the Court determines that the limits of the Massachusetts’ long-arm statute must be determined to
resolve this question, the Defendants respectfully request the opportunity to submit a supplemental brief on the issue
of whether the Massachusetts’ long-arm statute is more restrictive than the Constitutional limits, and whether the
exercise of personal jurisdiction over the Defendants is not justified under the statute.

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         The Supreme Court recognizes two types of personal jurisdiction: general and specific.

Bristol-Myers Squibb Co. v. Superior Court of California, 137 S. Ct. 1773, 1780-81 (2017)

(citation omitted). “Adjudicatory authority is ‘specific’ when the suit ‘arises out of or relates to

the defendant’s contacts with the forum.’” Goodyear, 564 U.S. at 924 (quoting Helicopteros

Nacionales De Colombia v. Hall. 466 U.S. 408, 414, n. 8 (1984)) (internal brackets omitted).

“When there is no such connection, specific jurisdiction is lacking regardless of the extent of a

defendant’s unconnected activities in the State.” Bristol-Myers, 137 S. Ct. at 1781 (citation

omitted). General jurisdiction applies to “instances in which the continuous corporate operations

within a state are so substantial and of such a nature as to justify suit against it on causes of

action arising from dealings entirely distinct from those activities.” International Shoe, 326 U.S.

at 318. The Complaint must be dismissed because this Court lacks both specific and general

jurisdiction over the Defendants.

       A. This Court Does Not Have General Jurisdiction Over the Defendants

       Under the Supreme Court’s stringent application of general jurisdiction set forth in

Daimler v. Bauman, 517 U.S. 117 (2014), this Court lacks general jurisdiction with respect to the

Defendants, because the Defendants are not “at home” in Massachusetts. Even under the pre-

Daimler application of general jurisdiction, however, courts consistently declined to exercise

general jurisdiction of institutions of higher learning. For both of these reasons, this Court does

not have general jurisdiction over the Defendants.

       i.      This Court lacks general jurisdiction over the Defendants

       General jurisdiction, in contrast to specific jurisdiction, applies to “situations where a

foreign corporation’s ‘continuous corporate operations within a state are so substantial and of

such a nature as to justify suit against it on causes of action arising from dealings entirely distinct



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from those activities.’” Daimler AG v. Bauman, 571 U.S. 117, 127 (2014) (citation and brackets

omitted). “A court may assert general jurisdiction over foreign (sister-state or foreign-country)

corporations to hear any and all claims against them when their affiliations within the State are

so ‘continuous and systematic’ as to render them essentially at home in the forum State.”

Goodyear, 564 U.S. at 919 (citation omitted). “For an individual, the paradigm forum for the

exercise of general jurisdiction is the individual’s domicile; for a corporation, it is an equivalent

place, one in which the corporation is fairly regarded as at home.” Goodyear, 564 U.S. at 924.

“With respect to a corporation, the place of incorporation and principal place of business are

‘paradigm . . . bases for general jurisdiction.’” Daimler, 571 U.S. at 137 (quoting Lea Brilmeyer

et al., A General Look at General Jurisdiction, 66 TEXAS L. REV. 721, 735 (1988)).

       The First Circuit Court of Appeals has not yet had the opportunity to discuss the

implications of Goodyear and Daimler, however, several district courts within this district have

recognized that the test set forth in those cases is more stringent than the previous general

jurisdiction standard. See Medici v. Lifespan Corp., 239 F. Supp. 3d 355, 368-69 (D. Mass.

2017) (collecting cases). In addition, multiple circuit courts of appeal have interpreted the

decisions to mean that, “except in a truly ‘exceptional’ case, a corporate defendant may be

treated as ‘essentially at home’ only where it is incorporated or maintains its principal place of

business.” Brown v. Lockheed Martin Corp., 814 F.3d 619, 627 (2d Cir. 2016) (noting that “at

least three of our sister circuits have agreed with this reading of Daimler”) (citing Kipp v. Ski

Enter. Corp. of Wis., 783 F.3d 695, 698 (7th Cir. 2015), Martinez v. Aero Caribbean, 764 F.3d

1062, 1070 (9th Cir. 2014), and Monkton Ins. Servs., Ltd. v. Ritter, 768 F.3d 429, 432 (5th Cir.

2014)) (emphasis added).




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       Here, the facts do not support a finding of general jurisdiction. As discussed further

below at Section I(B), the submission of the letters to Suffolk University School of Law and

New England Law are insufficient to establish minimum contacts in Massachusetts, and the

remaining acts giving rise to the Plaintiff’s claims occurred in New Hampshire. In addition,

Ms. Canning is a resident of New Hampshire and USNH is a body politic chartered under the

laws of New Hampshire, with a principal place of business in New Hampshire. See Provencher

Dec. at ¶ 2; Canning Dec. at ¶ 1. Nothing in the Complaint suggests that USNH is “essentially at

home” in Massachusetts, or that this is an “exceptional” case such that the exercise of general

jurisdiction would be appropriate. See Medici, 239 F. Supp. at 369 (declining to find general

jurisdiction over a defendant incorporated under Rhode Island law with a principal place of

business in Rhode Island).

       Even if facts existed which justified a finding that USNH has “continuous and systemic

contacts” with Massachusetts, the exercise of general jurisdiction would be inappropriate. See

id. (declining to find general jurisdiction where the defendant had two locations in

Massachusetts, employed individuals in Massachusetts, and served a portion of its clients in

Massachusetts). The Medici Court relied upon Bulwer v. Mass. College of Pharm. & Health

Scis., No. 1:13-cv-521, 2014 U.S. Dist. LEXIS 106365 (D.N.H. Aug. 5, 2014), for the

proposition that even where the facts establish that the defendant has “continuous and systematic

contacts” with the forum state, a finding of general jurisdiction is inappropriate under Daimler

and Goodyear. Medici, 239 F. Supp. 3d at 369. In Bulwer, the plaintiff brought an action in the

District of New Hampshire against the Massachusetts College of Pharmacy and Health Sciences

(the “College”), asserting that the College had misappropriated copyrighted materials he had

used as a teacher at the College. 2014 U.S. Dist. LEXIS 106365, at *1-*3. After concluding that



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the events giving rise to the claim occurred in Massachusetts, id. at *9-*14, the court declined to

find that the College was “at home” in New Hampshire under Daimler even though the College

maintained a campus in New Hampshire and employed individuals in New Hampshire, and

despite the fact that 6% of its student body took courses at its New Hampshire campus. Id. at

*17-*18. Here, USNH does not have a campus in Massachusetts and employs only a small

number of employees who work in Massachusetts. See Provencher Dec. at ¶¶ 4-6. Accordingly,

there is no basis for a finding of general jurisdiction.

        ii.     Exercise of general jurisdiction over institutions of higher education

        Even if this Court were to determine that facts existed which were sufficient for a finding

that USNH is “at home” in Massachusetts, a finding that this Court may exercise general

jurisdiction over UNH Law would not comport with “traditional notions of fair play and

substantial justice.” While the First Circuit does not appear to have specifically addressed

whether general jurisdiction can be exercised over an institution of higher education, numerous

other federal courts have declined to do so. See, e.g., Gehling v. St. George’s Sch. of Med., Ltd.,

773 F.2d 539, 541-43 (3d Cir. 1985) (no general jurisdiction despite foreign school’s joint

international program with local college and substantial advertising in local forum); Ross v.

Creighton Univ., 740 F. Supp. 1319, (N.D. Ill. 1990) (no general jurisdiction despite college’s

employment of full-time recruiter in forum state), rev’d in part on other grounds¸ 957 F.2d 410

(7th Cir. 1992); Cassell v. Loyola Univ., 294 F. Supp. 622, 624 (E.D. Tenn. 1968) (no general

jurisdiction despite universities extensive recruitment of athletes and students in forum state); see

also Scherer v. Univ. Missouri Law School, 152 F. Supp. 2d 1278, 1282-83 (D. Kan. 2001) (“the

plaintiff has directed the court to no case in which a university from a nonforum state has been




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subject to the general jurisdiction of a forum state and, in fact, every case which the court has

uncovered holds directly to the contrary.”) (collecting cases).

         The pre-Daimler exception to the assertion of general jurisdiction over institutions of

higher education is generally based on the reasoning that “[a]dvanced educational institutions

typically draw their student body from numerous states,” and pre-Daimler general jurisdiction

would “subject them to suit on non-forum related claims in every state where a member of the

student body resides.” Gehling, 773 F.2d at 543. As such, an institute cannot be subject to

general jurisdiction for engaging in conduct which is “typical of nationally prominent

universities.” Martin v. Clemson Univ., No. 07-536, 2007 U.S. Dist. LEXIS 93703, *15 (E.D.

Pa. Dec. 20, 2007) (citing Gehling, 773 F.2d at 542-43); see also Weil v. Am. Univ., No. 07-

7748, 2008 U.S. Dist. LEXIS 1727, *11 (S.D.N.Y. Jan. 2, 2008) (no general jurisdiction where

university had no contacts with forum state beyond those “commonly engange[d]” in by

universities and colleges). Here, USNH’s conduct in Massachusetts does not extend beyond

commonly engaged in activities which are typical of nationally prominent institutions of higher

education, and it cannot be subject to general jurisdiction. See Kurzon LLP v. Thomas M.

Cooley Law Sch., No. 12-cv-8352, 2014 U.S. Dist. LEXIS 85776, at *4 (S.D.N.Y. June 24,

2014) (no general jurisdiction where Michigan law school solicited donations from New York

alumni, solicited business in New York, sent representative to school fairs in New York, and

offered a small number of externships in New York). Accordingly, this Court cannot assert

general jurisdiction over the Defendants.

    B.      This Court Lacks Specific Jurisdiction Over the Defendants

         When a court performs the minimum contacts analysis set forth by International Shoe

with respect to specific jurisdiction, the constitutional analysis is divided into three distinct



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categories: relatedness, purposeful availment, and reasonableness. A Corp., 812 F.3d at 59

(citing Phillips, 530 F.3d at 27). More accurately, courts must consider the following:

                 (1) whether the claim directly arises out of, or relates to, the
                 defendant’s forum state activities; (2) whether the defendant’s in-
                 state contacts represent a purposeful availment of the privilege of
                 conducting activities in the forum state, thereby invoking the
                 benefits and protections of that state’s laws and making the
                 defendant’s involuntary presence before the state’s courts
                 foreseeable’ and (3) whether the exercise of jurisdiction is
                 reasonable.

C.W. Downer & Co. v. Bioriginal Food & Sci. Corp., 771 F.3d 59, 65 (1st Cir. 2014) (internal

quotation marks, brackets, and citation omitted). Because the Plaintiff’s claims directly arise out

of and related to the Defendants actions in New Hampshire, and because the Defendants have not

purposefully availed themselves of the privileges of conducting activities in Massachusetts, this

court cannot assert specific jurisdiction over the Defendants.

        Under the relatedness prong, a plaintiff must show “a demonstrable nexus between [his or

her] claims and [the defendant’s] forum-based activities, such . . . [that] the litigation is founded

directly on those activities.” Adelson v. Hananel, 652 F.3d 75, 81 (1st Cir. 2011) (internal

quotation marks and citation omitted). Here, the Defendants due process claim, negligent

infliction of emotional distress claim, and intentional infliction of emotional distress claim

directly rise out of the Defendants alleged denial of “an opportunity to be heard” and related

actions concerning the resolution of the pending Conduct Code Charge, all of which occurred in

New Hampshire.4 See Complaint at pp. 7-8, ¶¶ a-i, n-aa. The only contacts with Massachusetts

were the isolated acts of mailing the letters to Suffolk University School of Law and New

England Law, which alone cannot lead to the conclusion that the Defendants violated the

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 As argued below at Section II(A), which is incorporated herein by reference, the Plaintiff’s defamation claim must
be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6). As such, the operative facts which form the
basis for the Plaintiff’s remaining claims all occurred in New Hampshire and have no material connection to
Massachusetts.

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Plaintiff’s due process rights in Massachusetts. See Sawtelle, 70 F.3d at 1389-90 (concluding

that the transmission of settlement recommendations to a law firm’s client in the forum state by

way of telephone and mail alone would be insufficient to conclude that the defendants committed

malpractice in the forum state). Because the only remaining connection to Massachusetts is the

emotional distress the Plaintiff has allegedly suffered, see A Corp., 812 F.3d at 60 (finding the

relatedness prong was not satisfied where the only connection to the forum state was the injury

resulting from lost business therein), the nexus is insufficient to satisfy the relatedness prong.

       Even if it could be shown that the Plaintiff’s claims were founded directly upon the

Defendants’ activities in Massachusetts, this Court still lacks specific jurisdiction because the

Defendants have not purposefully availed themselves of the privilege of conducting activity in

the forum state. See A Corp., 812 F.3d at 60 (“The purposeful availment inquiry is intended to

assure that personal jurisdiction is not premised solely upon a defendant’s random, isolated, or

fortuitous contacts with the forum state.”) (quoting Keeton v. Hustler Magazine, Inc., 465 U.S.

770, 774 (1984)) (internal quotation marks and citation omitted). Under this prong, courts

“focus on the defendant’s intentionality, and the cornerstones of purposeful availment --

voluntariness and foreseeability.” A Corp., 812 F.3d at 60 (citation omitted). “The proper

question is not whether the plaintiff experienced a particular injury or effect but whether the

defendant’s conduct connects him to the forum in a meaningful way.” Walden v. Fiore, 571 U.S.

277, 290 (2014). Under this approach, the question is whether the defendant at least “aimed” its

challenged conduct at the forum State. Calder v. Jones, 465 U.S. 783, 789 (1984). The facts as

alleged are insufficient to show that the Defendants expressly aimed or directed their conduct to




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Massachusetts when they responded to the Plaintiff’s inquiries regarding the process by which he

could resolve the pending Conduct Code Charge.5

II.        IN THE ALTERNATIVE, THIS COURT SHOULD DISMISS THE
           DEFAMATION CLAIM PURSUANT TO RULE 12(b)(6) AND TRANSFER THIS
           CASE TO THE DISTRICT OF NEW HAMPSHIRE PURSUANT TO 28 U.S.C. §
           1404(a)

           If this Court determines that it may exercise personal jurisdiction over the Defendants,

the Defendants move to dismiss the defamation claim pursuant to Federal Rule of Civil

Procedure 12(b)(6), as the Plaintiff has failed, inter alia, to allege that the statements published

by the Defendants were false. In addition, the Defendants move this Court to transfer this case to

the District of New Hampshire pursuant to 28 U.S.C. § 1404(a), as such a transfer would serve

the interest of justice in that the operative facts occurred in New Hampshire and have no material

connection to Massachusetts.

      A.      The Plaintiff Failed to Allege Facts Sufficient to Support a Finding of
              Defamation

           “To establish a defamation claim under Massachusetts law, four elements are required:

(1) that the defendant made a statement, concerning the plaintiff, to a third party; (2) that the



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  In Hahn v. Vermont Law School, 698 F.2d 48 (1983), the First Circuit held that specific jurisdiction could be
exercised over Vermont Law School on breach of contract claims pursuant to the Massachusetts’ long-arm statute,
M.G.L. ch. 233, § 3, because the facts showed that Vermont Law School had mailed the plaintiff’s application and
acceptance letter to Massachusetts, which were instrumental in the formation of the contract. Id. at 51. In addition,
the Hahn Court also concluded that, while it a “close question” whether the sending of the application and
acceptance letter to Massachusetts alone could satisfy the requirements of due process, the court concluded that
Vermont Law School’s activities with respect to the plaintiff “were not simply isolated occurrences; instead; they
were part of [Vermont Law School’s] efforts to serve the market for legal education in Massachusetts.” Id. at 52
(citing World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)). Unlike in Hahn, however, the act
of sending the letters to Massachusetts was an isolated occurrence which is unrelated to any other efforts on the part
of UNH Law to serve, directly or indirectly, the market for legal education in Massachusetts. See Asahi Metal
Industry Co. v. Superior Court of Cal., Solano Cty., 480 U.S. 102, 112 (1987) (holding that specific jurisdiction may
lie over a foreign defendant that places a product into the “stream of commerce” while also “designing the product
for the market in the forum State, advertising in the forum State, establishing channels for providing regular advice
in the forum State, or marketing the product through a distributor who has agreed as the sales agent in the forum
State,” because the plaintiff’s claim directly concerned the product placed in the stream of commerce). Furthermore,
it is not clear that Hahn v. Vermont Law School remains good law considering the substantial development in the
application of specific and general jurisdiction since 1983, as discussed herein.

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statement was defamatory such that it could damage the plaintiff’s reputation in the community;

(3) that the defendant was at fault in making the statement; and (4) that the statement either

caused the plaintiff economic loss . . . or is actionable without proof of economic loss.”

Lemelson v. Bloomberg LP, 253 F. Supp. 3d 333, 338-39 (D. Mass. 2017) (quoting Ravnikar v.

Bogojavlensky, 782 N.E.2d 508. 510-11 (Mass. 2003)) (internal quotation marks and brackets

omitted). “In most cases, a statement must be false, and truth will constitute a defense.” Alharbi

v. TheBlaze, Inc., 199 F. Supp. 3d 334, 351 (D. Mass. 2016) (citation omitted). However,

Massachusetts “allows a plaintiff to recover for a truthful defamatory statement published in

writing (or its equivalent) with actual malice.” Ravnikar, 782 N.E.2d at 510, n. 3) (citing M.G.L.

ch. 231, § 92 (“The defendant in an action for writing or for publishing a libel may introduce in

evidence the truth of the matter contained in the publication charged as libelous; and the truth

shall be a justification unless actual malice is proved”) (emphasis added)). As such, when a

defamatory statement is truthful, a plaintiff can recover if he or she can show that the statement

was made with actual malice. Sensing v. Outback Steakhouse of Fla., Inc., 566 F. Supp. 2d 24,

27, n. 1 (D. Mass. 2008) (citation omitted), rev’d on other grounds, 575 F.3d 145 (1st Cir.

2009)). In this context “actual malice” means “ill will” or “malevolent intent.” Noonan v.

Staple, Inc., 556 F.3d 20, 29 (1st Cir. 2009) (applying Massachusetts’ law and finding that the

definition of “actual malice,” as used in M.G.L. ch. 231, § 92, is separate and distinct from the

actual malice standard as first set forth in New York Times Co. v. Sullivan, 376 U.S. 254

(1964)); see also Scheman v. Hopkinton Basketball Ass’n, No. MICV2011-04166, 2012 Mass.

Super. LEXIS 175, at *13, n. 3 (Mass. Super. Ct. July 17, 2012) (following Noonan).

       In making his claim of defamation against the Defendants, the Plaintiff claims that the

Defendants defamed him by doing the following:



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            i. “Failing to provide the most fundamental requisite of due process law, an
               opportunity to be heard;
            ii. Depriving the Plaintiff the liberty interest in continuing his legal studies at
                Suffolk Law, through the omission of any opportunity to be heard prior to
                submitting a letter of the Plaintiff’s current standing at UNH Law;
            iii. Depriving the Plaintiff the liberty interest in continuing his legal studies at
                 New England Law, through the omission of any opportunity to be heard
                 prior to submitting a letter of the Plaintiff’s current standing at UNH Law;
                 and,
            iv. Depriving the Plaintiff of a letter of good standing and therefore his good
                name, reputation, honor, and integrity, without first allowing any
                opportunity to be heard.”

See Complaint at p. 7, ¶¶ j-m. In support of these claims, the Plaintiff specifically alleged that

Ms. Canning offered to produce a letter stating that the Plaintiff is ineligible to return until the

pending Conduct Code Charge pending is resolved. Id. at ¶ 3. After the Plaintiff elected this

option, Ms. Canning produced and submitted to Suffolk University Law School and New

England Law a letter of the Plaintiff’s current standing with UNH Law. Id. at ¶¶ 5-9, 20-23.

       What the Complaint does not contain, however, are factual allegations which could form

the basis for a conclusion that (1) the statements made in the letters submitted to Suffolk School

of Law and New England Law were false, or (2) that the Defendants made the statements in the

letters with actual malice. Critically, the Plaintiff does not make any allegation that the contents

of the letters – that the Plaintiff is not in good standing with UNH Law and is ineligible to return

until the pending Conduct Code Charge is resolved – are disputed. See Lemelson v. Bloomberg

LP, 253 F. Supp. 3d 333, 339 (D. Mass. 2017) (noting that an article disclosing that the plaintiff

was subject to an investigation was defamatory because it was disputed that the plaintiff was

under investigation). Where a statement does not accuse the plaintiff of having committed a

disputed fact, a statement generally cannot be defamatory. See Foley v. Lowell Sun Pub. Co.,

533 N.E.2d 196, 197 (Mass. 1989) (affirming the grant of summary judgment where the


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defendant published an article stating that the plaintiff had been arrested for assaulting a police

officer, which was undisputed). As such, because the Plaintiff has not alleged any facts showing

that the Defendants published the letters with “ill will” or “malevolent intent,” the Plaintiff’s

defamation claim must be dismissed. Cf. Scheman, 2012 Mass. Super. LEXIS at *13-*17

(declining to grant defendants’ motion to dismiss after finding, inter alia, that actual malice

could be inferred from allegations that youth sports association board members treated the

plaintiff with hostility and contempt during a meeting the day before sending a truthful statement

to team parents that the plaintiff would be removed as a coach).

    B.      The District of New Hampshire is the Appropriate Venue for this Case

         Finally, if this Court determines that it can exercise personal jurisdiction over the

Defendants, the Defendants move to have this case transferred to the District of New Hampshire

pursuant to 28 U.S.C. § 1404(a). Section 1404(a) provides that this Court may transfer a civil

action to any federal district where the case might have been brought “[f]or the convenience of

parties and witnesses” and “in the interest of justice.” 28 U.S.C. § 1404(a). When considering a

motion under Section 1404(a), courts must weigh private interest and public interest factors.

Bowen v. eLanes N.H. Holdings, LLC, 166 F. Supp. 3d 104, 107 (D. Mass. 2015). “Private

interest factors include the statutory considerations of convenience of the parties and witnesses . .

. but also the relative ease of access to sources of proof, availability of compulsory process,

comparative trial costs, ability to enforce a judgment and any practical problems that make trial

of a case easy, expeditious and inexpensive.” Id. (internal quotation marks and citations

omitted). “Public interest factors include the statutory consideration of the interest of justice, . . .

but also the practical difficulties of unnecessarily imposing upon a busy court the obligation to

hear a case more fairly adjudicated elsewhere, the imposition on jurors called to hear a case that



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has no relation to their community, and the familiarity with the court with applicable laws.” Id.

at 107-08 (internal quotation marks and citations omitted).

       When moving to transfer under Section 1404(a), the moving party has the burden to show

that “an adequate alternative forum exists and that considerations of convenience and judicial

efficiency strongly favor litigating the claim in the second forum.” Iragorri v. International

Elevator Inc., 203 F.3d 8, 12 (1st Cir. 2000). Generally, there is a presumption in favor of the

plaintiff’s choice of forum. Royal Bed & Spring Co. v. Famossul Industria e Comercio de

Moveis Ltda., 906 F.2d 45, 52 (1st Cir. 1990). However, “‘where the operative facts of the case

have no material connection with [the venue], plaintiff’s choice of forum carries less weight.’”

United States ex rel. Onis v. City of Woonsocket, 480 F. Supp. 2d 434, 436 (D. Mass. 2007)

(quoting Goodman v. Schmalz¸ 80 F.R.D. 296, 302 (E.D.N.Y. 1978)) (internal brackets omitted).

Moreover, “the convenience of witnesses is ‘[p]robably the most important factor, and the factor

most frequently mentioned, in passing on a motion to transfer under [28 U.S.C. § 1404(a)].’”

United States ex rel. Onis, 480 F. Supp. 2d at 437 (quoting 15 CHARLES A. WRIGHT ET AL.,

FEDERAL PRACTICE AND PROCEDURE: JURISDICTION § 3848 (3d ed. 2007)).

       Here, the Plaintiff’s choice of venue should be afforded little weight as Massachusetts has

little connection to the operative facts of this case. The Plaintiff’s claims all relate to what he has

asserted was a denial of due process, in that the Defendants have allegedly denied the Plaintiff

the opportunity to be heard. See Complaint at pp. 7-8, ¶¶ a-aa. In support of these claims, the

Plaintiff has alleged facts that show that all of the communications relating to his efforts to

resolve the pending Conduct Code Charge resulted from his contacts to the Defendants in New

Hampshire, where the parties discussed the manner in which the pending Conduct Code Charge

could be resolved and the letters were drafted. The only facts alleged which show a connection



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with Massachusetts are the two incidents of mailing the letters to Suffolk University School of

Law and New England Law. Absent more, whatever ties Massachusetts may have to this case

based upon the mailing of the letters is clearly ancillary to the New Hampshire connections at

stake. See Thermo Niton Analyzers, LLC. V. Morningsight Capital, LLC, No. 10-cv-10374,

2010 U.S. Dist. LEXIS 72524, at *6 (D. Mass. July 16, 2010) (transferring a case to New York

where the only connection with Massachusetts’ was a choice of law provision with regards to an

agreement which was negotiated, executed, and predominantly performed in New York).

       In addition, consideration of the private interest factors support transfer to New

Hampshire. Principally, the majority of the fact witnesses in this case are located in New

Hampshire. See Bowen, 166 F. Supp. 3d at 109 (noting that “courts look at the number of

potential witnesses located in both the transferor and the transferee district, the nature and quality

of their testimony, and whether the witnesses can be compelled to testify” when considering

private factors). As such, in the event that this case went to trial and out-of-state witnesses are

unwilling to testify, the District of New Hampshire would be better equipped to compel them to

do so. See id. (discounting the ability to obtain affidavits and transfer subpoenas between

districts in considering the convenience of witnesses). Likewise, nearly all of the evidence is in

New Hampshire. See id. (weighing the location of documents in favor of transfer despite noting

that technological advances have undercut the importance of the physical location of documents

in litigation). Similarly, consideration of public interest factors also supports transfer to New

Hampshire. As this case concerns USNH, a New Hampshire body politic and the largest

provider of postsecondary education in New Hampshire, and the facts which lie at the heart of

the Complaint occurred in New Hampshire, New Hampshire has a “clear interest in trying and

resolving the case in a local forum, and fairness suggest that jury duty should fall on [its]



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citizens.” Atari v. UPS, 211 F. Supp. 2d 360, 365 (D. Mass. 2002) (noting that the incident at

the heart of the plaintiff’s action occurred in New Jersey, and that New Jersey had a greater

interest in resolving the dispute despite the fact that the plaintiff was a Massachusetts’ resident).

                                          CONCLUSION

       For the reasons explained herein, the Defendants respectfully request that this Honorable

Court dismiss the Complaint in its entirety for lack of personal jurisdiction pursuant to Federal

Rule of Civil Procedure 12(b)(2). In the alternative, the Defendants request that this Court

dismiss the defamation claim pursuant to Federal Rule of Civil Procedure 12(b)(6), and transfer

this case to the District of New Hampshire pursuant to 28 U.S.C. § 1406(a).

                                                         Respectfully submitted,

                                                         UNIVERSITY SYSTEM OF
                                                         NEW HAMPSHIRE and
                                                         FRANCES CANNING

                                                         By their attorneys,

                                                         DEVINE, MILLIMET, & BRANCH
                                                         PROFESSIONAL ASSOCIATION


Dated: October 30, 2018                            By: /s/ Christopher Hawkins
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this pleading was served this day, via electronic transmission in
accordance with the ECF filing procedures.


Dated: October 30, 2018                                  /s/ Christopher Hawkins
                                                         Christopher Hawkins, Esq.

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